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8
                          UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF CALIFORNIA
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11
     FELIX DARNELL CALVERT ,                   Case No. 3:17-cv-00456- MMA- MDD

12                Plaintiff,
13                                             MDL Case No. 3:11-md- 02286- MMA-
     vs.
                                               MDD
14
     MIDLAND CREDIT MANAGEMENT,
15

16                Defendant                    AGREED STIPULATION OF
                                               DISMISSAL
17

18         IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff,

19   FELIX DARNELL CALVERT, and the Defendant,                    MIDLAND CREDIT
20
     MANAGEMENT, through their respective counsel that the above-captioned action is
21
     dismissed, with prejudice, against MIDLAND CREDIT MANAGEMENT, pursuant
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23   to settlement and Federal Rule of Civil Procedure 41. Each party shall bear its own
24   costs and attorney fees.
25
                                                       Case No. 3:17-cv-00456-MMA-MDD
     Case 3:17-cv-00456-MMA-MDD Document 25 Filed 02/05/18 PageID.71 Page 2 of 2



1                 Dated: February 5, 2018                  Respectfully Submitted,
2
                  s/ Nathan C. Volheim                   s/ Todd P. Stetler (with consent)
3                 Nathan C. Volheim                      Todd Stetler
                  Counsel for Felix D. Calvert           Counsel for Midland Credit
4
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8                                                        tstelter@hinshawlaw.com
9

10                                   CERTIFICATE OF SERVICE
11
           I, Nathan C. Volheim, certify on February 5, 2018, a copy of the above and
12

13   forgoing was filed electronically with the Clerk of the Court using the CM/ECF
14
     systems. Notice of this filing has been forwarded to all parties via, US Mail,
15
     postage prepaid:
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17                                           Todd Stetler
18
                                            David Schultz
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                                                        Case No. 3:17-cv-00456-MMA-MDD
